                                EXHIBIT C
                                   OF
                                EXHIBIT 6
                           DOCUMENTARY EXHIBITS




                                      Page 1 of 28

13-53846-tjt   Doc 949-7   Filed 09/19/13   Entered 09/19/13 15:33:40   Page 1 of 28
                               STATE OF MICHIGAN
                       IN THE 3RD JUDICIAL CIRCUIT COURT
                           FOR THE COUNTY OF WAYNE

  CITIZENS UNITED AGAINST CORRUPT GOVERNMENT, Case No. 13-010901-AW
  A Michigan Nonprofit Corporation,           Hon. Lita M. Popke
        PETITIONER/PLAINTIFF,

  -v-

  SAUNTEEL JENKINS, in her official capacity as the duly
  “appointed” President of the Detroit City Council,
         RESPONDENT/DEFENDANT.
  ________________________________________________________________________/
  ANDREW A. PATERSON (P18690)
  Attorney for Petitioner/Plaintiff
  46350 Grand River Ave., Suite C
  Novi, MI 48374
  (248) 568-9712
  ________________________________________________________________________/

                           EMERGENCY
                 EX PARTE APPLICATION FOR LEAVE
          TO FILE COMPLAINT FOR WRIT OF QUO WARRANTO
         PETITIONER, CITIZENS UNITED AGAINST CORRUPT GOVERNMENT, by

  and through its attorney, Andrew A. Paterson, and in support of its Emergency Ex Parte

  Application for Leave to File Complaint for Writ of Quo Warranto (“Application”) to

  remove Respondent/Defendant, pursuant to MCR 3.306(B)(2), states the following:

                              I.      GENERAL ALLEGATIONS

                                              The Parties

  1.     Petitioner, Citizens United Against Corrupt Government (“Petitioner”), is a

         Michigan nonprofit corporation organized for the purpose of promoting and ensuring

         corrupt-free and law-abiding civic government through social actions and court

         actions designed to eliminate unlawful illegal actions by all governmental officials,


                                           Page 2 of 28

13-53846-tjt   Doc 949-7     Filed 09/19/13     Entered 09/19/13 15:33:40        Page 2 of 28
         representatives and entities in all levels of government. Petitioner‟s director, Robert

         Davis, serves as the Director of Petitioner and is a resident and qualified registered

         elector in the County of Wayne, State of Michigan (“Davis”).

  2.     Davis, on behalf of Petitioner, sent the written request/application to the Attorney

         General requesting that he bring a quo warranto action against the named

         Respondents. Accordingly, Petitioner is the proper party that has standing to bring

         this quo warranto action to remove the named Respondents. See Gallagher v Keefe,

         232 Mich App 363, 369; 591 NW2d 297 (1998) (“the only restriction on the face of

         the court rule is that the person who is granted leave to bring the action must be the

         one who gave the information to the Attorney General. MCR 3.306(B)(1); MCR

         3.306(B)(3)(b).”). (See Davis’ affidavit attached hereto as Exhibit A).

  3.     As set forth in further detail, infra, Petitioner, as a domestic nonprofit corporation, is

         a “person” that has standing to bring this action in quo warranto.

  4.     On March 25, 2013, in accordance with the authority and power granted under Public

         Act 436 of 2012 (“PA 436”), Kevyn Orr, the duly appointed emergency manager for

         the City of Detroit (“Emergency Manager”), issued written Order No. 1, in which he

         authorized and restored therein the pay and other benefits of the elected Mayor of the

         City of Detroit and all of the elected Members of the Detroit City Council (“City

         Council”). (See Order No. 1 of the Emergency Manager attached hereto as

         Exhibit B).

  5.     Thereafter, on April 11, 2013, in order to settle and in response to a civil lawsuit

         Petitioner had filed with this Court against Respondent, the Emergency Manager, and

         the Detroit City Council (Citizens United v. Kevyn Orr, et al., Wayne County Case



                                            Page 3 of 28

13-53846-tjt   Doc 949-7      Filed 09/19/13      Entered 09/19/13 15:33:40         Page 3 of 28
         No. 13-004353-AW, Judge Lita M. Popke), the Emergency Manager issued Order

         No. 3, whereby he authorized therein the elected Mayor and the City Council to

         “continue to carry out the business, proceedings, administration, and operation of

         City services subject to the terms of this Order and Public Act 436.” (See Order No.

         3 of the Emergency Manager attached hereto as Exhibit C).

  6.     Order No.3 of the Emergency Manager further required that “[a]ny orders,

         ordinances, resolutions, appointments, approvals, terminations, appropriations,

         contracts, permits or other related actions of the Detroit Mayor and City Council from

         and after March 28, 2013, shall be submitted to the Emergency Manager for

         consideration, but will not be valid or effective unless and until approved by the

         Emergency Manager or his designee in writing.” (See Order No. 3 of the

         Emergency Manager attached hereto as Exhibit C).

  7.     On June 27, 2013, the Emergency Manager issued Order No. 9, which was an order

         modifying orders nos. 1 and 3. Specifically, Order No. 9 terminated and eliminated

         the salary, wages, and compensation of Council President Charles Pugh (“Elected

         Council President”) effective July 7, 2013, and it further ordered that “[d]uring the

         period that Mr. Pugh [Elected Council President] remains a member of City Council,

         any authority granted in Order No. 3 for Mr. Pugh to act in the capacity as Council

         President is hereby revoked.” (See Order No. 9 of the Emergency Manager

         attached hereto as Exhibit D).

  8.     On July 9, 2013, the Detroit City Council, with the advice of counsel, voted 4-2 to

         unlawfully appoint Respondent Saunteel Jenkins (“Respondent”) as the new

         President of the Detroit City Council. Council members Brenda Jones and JoAnn



                                           Page 4 of 28

13-53846-tjt   Doc 949-7     Filed 09/19/13     Entered 09/19/13 15:33:40        Page 4 of 28
         Watson voted against Respondent‟s selection as the new Council President because

         they disagreed with the selection process. (See July 9, 2013 Detroit Free Press

         article attached hereto as Exhibit E).

  9.     In addition to unlawfully appointing Respondent as the new Council President, at the

         July 9, 2013 City Council meeting, the Detroit City Council also voted to appoint

         Councilmember Andre Spivey as the Council President Pro-Tem as a result of the

         resignation of the former Council President Pro-Tem Gary Brown, who resigned

         effective July 1, 2013 to take a job in the Emergency Manager‟s administration. (See

         July 9, 2013 Detroit Free Press article attached hereto as Exhibit E).

  10.    Since the Detroit City Council‟s vote to appoint Respondent as the new Council

         President, and vote to appoint Councilmember Andre Spivey as the new Council

         President Pro-Tem, the Emergency Manager has not issued a written order approving

         the unlawful appointment of Respondent as the Council President nor has the

         Emergency Manager issued a written order approving the appointment of

         Councilmember Andre Spivey as the Council President Pro-Tem.

  11.    Nonetheless, since being unlawfully appointed as the new Council President on July

         9, 2013, Respondent has been unlawfully exercising the duties of the office of

         Council President.

  12.    It is important to state for the record, that the Elected Council President, to date, has

         not resigned nor has he been removed from office in accordance with law.

                           A. The Nature of the Quo Warranto Action

  13.    Petitioner‟s action is in quo warranto and seeks thereby Respondents removal for

         holding office illegally. “[Q]uo warranto is the proper and exclusive remedy to



                                            Page 5 of 28

13-53846-tjt   Doc 949-7      Filed 09/19/13      Entered 09/19/13 15:33:40         Page 5 of 28
         try title to office finally and conclusively.” Layle v Adjutant Gen. of Mich., 384

         Mich 638, 641; 186 NW2d 559 (1971). (Emphasis supplied). And see,

         numerous Court of Appeals and Michigan Supreme Court decisions that have held

         that “[Q]uo warranto is the proper remedy to try title to office finally and

         conclusively.” Wayne Rep Comm v Bd of Commers, 70 Mich App 620, 627; 247

         NW2d 571 (1976), citing Layle, supra, and see, Attorney General, ex rel Cook v

         Burhans, 304 Mich 108; 7 NW2d 370 (1942); Stokes v Clerk of the Monroe County

         Canvassers, 29 Mich App 80; 184 NW2d 746 (1970).

  14.    This Court has jurisdiction to decide the merits of a quo warranto action. This Court

         can invoke the quo warranto “exclusive remedy” of removal of Respondent from the

         office of President of the Detroit City Council.

  15.    For the purposes of this action in quo warranto, and for which this Application

         seeking “leave” to file Petitioner‟s Complaint is sought, it is alleged that the City of

         Detroit is a “public corporation.” (See, Dartland v. Hancock Public Schools, 25 Mich

         App 14; 181 NW2d 41 (1970)1.)

  16.    For the purposes of this action in quo warranto, and for which this Application

         seeking “leave” to file Petitioner‟s Complaint is sought, it is alleged that the

         Respondent “unlawfully holds or exercises a state office” in a “public corporation”

         that was created by “this state‟s authority.” See, Dartland v. Hancock Public

         Schools, supra fn 1.


         1
               The Court determined that school districts are public corporations for purposes of
               quo warranto actions - “It is patent to us that … the School District of the City of
               Hancock is a „public corporation‟…" citing numerous other decisions so finding
               school districts public corporations in other contexts.


                                             Page 6 of 28

13-53846-tjt     Doc 949-7      Filed 09/19/13     Entered 09/19/13 15:33:40        Page 6 of 28
  17.    Petitioner alleges that its Application herein is made by a Petitioner that is “a person”

         who has the necessary standing to bring this action against Respondent. Petitioner is

         a “person” with standing pursuant to MCR 3.306(B)(3)(a) and (b), because it did

         apply to the Michigan Attorney General and request that the Attorney General bring

         this quo warranto action against the Respondent. (See Petitioner’s July 30, 2013

         Quo Warranto Request to the Attorney General attached hereto as Exhibit F).

  18.    MCR 3.306(B)(3)(b) states: “If, … the Attorney General refuses to bring the action,

         the person may apply to the appropriate court for leave to bring the action himself or

         herself.” Petitioner is a “person” who has acquired standing to bring this action.

         See, City of Grand Rapids v. Harper, 32 Mich App 324, 328; 188 NW2d 668 (1971)

         (“the word „person‟ is commonly held to embrace bodies politic and corporate as

         well as individuals.”) (Emphasis supplied).

  19.    Petitioner has standing to file this Application pursuant to MCR 3.306(B)(3)(b),

         because the Attorney General has declined to file the action himself. (See Letter

         from Attorney General, Bill Schuette, to Petitioner dated August 7, 2013 a copy

         being attached hereto as Exhibit G).

  20.    The quo warranto statute, MCL 600.4501, as well as MCR 3.306, authorizes

         Petitioner, as a “person”, to bring this action, for which this Application seeks leave

         to file its Complaint.

  21.    MCL 600.4501 states in relevant part: “The attorney general shall bring an action for

         quo warranto when the facts clearly warrant the bringing of that action. If the attorney

         general receives information from a private party and refuses to act, that private party




                                            Page 7 of 28

13-53846-tjt   Doc 949-7      Filed 09/19/13     Entered 09/19/13 15:33:40         Page 7 of 28
         may bring the action upon leave of court.” And see Davis v Chatman, 292 Mich App

         603, 613-614; 808 NW 2d 555 (2011).

           B. This Court Has The Authority To Grant Petitioner’s Ex Parte
         Application Without Petitioner Providing Any Notice To Respondents Of
                                         Its Application
  22.    The Court has the right to grant ex parte, Petitioner‟s Application to file its

         Complaint. Respondent is required to receive notice of this Application. As the

         Court of Appeals held in Davis v Chatman, 292 Mich App 603, at 612-613; 784

         NW2d 823 (2010):

                       Initially, we reject defendant‟s argument that plaintiff was required to
                provide notice before seeking leave to file for quo warranto. Neither the
                relevant court rule (MCR 3.306) nor the statute (600.4501) contains a notice
                requirement, and our Supreme Court has found that fact dispositive of this
                issue:
                                „It will be observed that the statute does not require notice.
                       There appears to be no necessity for notice. It is the initial step in the
                       proceeding. Its object is to obtain permission to take out a summons in
                       quo warranto. Leave of the court is required by the statute to prevent
                       an extravagant use of the writ unless there is some real basis for it.
                       Failure to give notice to the defendant does not deprive him of any
                       substantial right. He has his full day in court after leave is granted and
                       summons is served on him. To require notice results in giving the
                       defendanttwo flings at his defense. If defendant be given notice, of the
                       application he will make the same showing that he afterward does on
                       the merits. If the matter is of such character that the circuit judge
                       would like to hear from defendant before granting leave, he may
                       always make an order requiring him to show cause why leave should
                       not be granted. This leaves the matter open so that no harm can result.
                       [Ferzacca v. Freeman, 240 Mich 682, 684-685; 216 NW 469 (1927).]

                Davis v Chatman, 292 Mich App 603, at 612-613. (Emphasis supplied.)

  23.    Accordingly, Petitioner is not obligated to provide Respondent with notice of this Ex

         Parte Application. This Court has the power and authority to grant the requested



                                          Page 8 of 28

13-53846-tjt   Doc 949-7     Filed 09/19/13     Entered 09/19/13 15:33:40        Page 8 of 28
         relief and permit Petitioner to file its Complaint, without receiving a response or

         argument by the Respondent. Davis v Chatman, supra, at 612-613.

                 II.     Jurisdiction of the 3rd Judicial Circuit Court

  24.    MCR 3.306 governs actions in quo warranto, and section A(1) thereof, provides this

         Court with original jurisdiction. It states:

         3.306 Quo Warranto
             (A) Jurisdiction.
             (1) An action for quo warranto against a person who usurps, intrudes
                 into, or unlawfully holds or exercises a state office, or against a
                 state officer who does or suffers an act that by law works a
                 forfeiture of the office, must be brought in the Court of Appeals.
             (2) All other actions for quo warranto must be brought in the circuit court.
             (B) Parties.
             (1) Actions by Attorney General. An action for quo warranto is to be
                 brought by the Attorney General when the action is against:
             (a) a person specified in subrule (A)(1);
             (b) a person who usurps, intrudes into, or wrongfully holds or
                 exercises an office in a public corporation created by this state’s
                 authority;
                                                ***********
             (2) Actions by Prosecutor or Citizen. Other actions for quo warranto
                 may be brought by the prosecuting attorney of the proper county,
                 without leave of court, or by a citizen of the county by special leave
                 of the court.
             (3) Application to Attorney General.
             (a) A person may apply to the Attorney General to have the Attorney
                 General bring an action specified in subrule (B)(1). The Attorney
                 General may require the person to give security to indemnify the state
                 against all costs and expenses of the action. The person making the
                 application, and any other person having the proper interest, may be
                 joined as parties plaintiff.
             (b) If, on proper application and offer of security, the Attorney
                 General refuses to bring the action, the person may apply to the
                 appropriate court for leave to bring the action himself or herself.
                                              ***************



                                            Page 9 of 28

13-53846-tjt   Doc 949-7      Filed 09/19/13      Entered 09/19/13 15:33:40       Page 9 of 28
               (C) Venue. The general venue statutes and rules apply to actions for
                   quo warranto, unless a specific statute or rule contains a special
                   venue provision applicable to an action for quo warranto.
               (D) Hearing. The court may hear the matter or may allow the issues to be
                   tried by a jury.(Emphasis added.)

   25.   The 3rd Judicial Circuit Court for the County of Wayne, has jurisdiction over

         Petitioner‟s Application and Complaint for the reason that Respondent, in her official

         capacity as the “appointed” new President of the Detroit City Council is not a “state

         officer” and Respondent‟s office is not a “state office.” Pursuant to MCR

         3.306(A)(2), a quo warranto action against her, must be brought in this court.

   26.   MCR 3.306(A) states:

               (1) An action for quo warranto against a person who usurps, intrudes into, or
               unlawfully holds or exercises a state office, or against a state officer who does or
               suffers an act that by law works a forfeiture of the office, must be brought in the
               Court of Appeals.
               (2) All other actions for quo warranto must be brought in the circuit court.
               (Emphasis supplied).

   27.   “[A] proceeding in the nature of quo warranto pertaining to a state officer must be

         brought in the Court of Appeals, but any other quo warranto proceeding must

         originate in the circuit court.” Williams v Lansing Bd. of Ed., 69 Mich App 654,

         660-661; 245 NW2d 365 (1976). (Emphasis supplied).

   28.   In accordance with the 2012 Detroit City Charter, as amended, Respondent is a local

         elected official of the City of Detroit.

   29.   Accordingly, pursuant to MCR 3.306(A), this Circuit Court is the proper venue for

         this quo warranto action.




                                             Page 10 of 28

13-53846-tjt    Doc 949-7      Filed 09/19/13       Entered 09/19/13 15:33:40       Page 10 of 28
     III. Factual and Legal Allegations Demonstrate Leave Must Be Granted

   30.   In November 2009, Respondent, under the former 1997 Detroit City Charter, was

         elected to one of the nine (9) at large seats on the Detroit City Council.

   31.   In accordance with the § 4-103 of the former 1997 Detroit City Charter, the President

         and President Pro-Tem were determined by which Council members received the

         highest and second highest number of popular votes, respectively. Therefore, in

         accordance with the former 1997 Detroit City Charter, based upon the popular vote

         from the November 2009 General Election, Charles Pugh was elected as the Council

         President (“Elected Council President”) and Gary Brown was elected as the Council

         President Pro-Tem because they received the highest and second highest number of

         popular votes, respectively. (See § 4-103 of the former 1997 Detroit City Charter

         attached hereto as Exhibit I).

   32.   However, in November 2011, the voters of the City of Detroit voted overwhelmingly

         to amend and revise the former 1997 Detroit City Charter. The revisions and

         amendments made to the former 1997 Detroit City Charter went into effect on

         January 1, 2012 (“2012 Detroit City Charter”).

   33.   Amongst the many sweeping changes made to the former 1997 Detroit City Charter,

         § 3-108 of the 2012 Detroit City Charter now requires that seven (7) council members

         are to be elected by districts, with two (2) council members to be elected at-large, and

         § 4-103 of the 2012 Detroit City Charter now requires that beginning in January

         2014, the Council President and Council President Pro-Tem are to be elected by the

         members of the City Council. As noted above, under § 4-103 of the former 1997

         Detroit City Charter, the President and President Pro-Tem were determined by which


                                           Page 11 of 28

13-53846-tjt   Doc 949-7     Filed 09/19/13     Entered 09/19/13 15:33:40         Page 11 of 28
         Council members received the highest and second highest number of popular votes,

         respectively.

   34.   On March 25, 2013, in accordance with the authority and power granted under Public

         Act 436 of 2012 (“PA 436”), Kevyn Orr, the duly appointed emergency manager for

         the City of Detroit (“Emergency Manager”), issued written Order No. 1, in which he

         authorized and restored therein the pay and other benefits of the elected Mayor of the

         City of Detroit and all of the elected Members of the Detroit City Council (“City

         Council”). (See Order No. 1 of the Emergency Manager attached hereto as

         Exhibit B).

   35.   Thereafter, on April 11, 2013, in response to a civil lawsuit Petitioner had filed with

         this Court against Respondent, the Emergency Manager, and the Detroit City Council

         (Citizens United v. Kevyn Orr, et al., Wayne County Case No. 13- -AW, Judge Lita

         M. Popke), the Emergency Manager issued Order No. 3, whereby he authorized

         therein the elected Mayor and the City Council to “continue to carry out the business,

         proceedings, administration, and operation of City services subject to the terms of

         this Order and Public Act 436.” (See Order No. 3 of the Emergency Manager

         attached hereto as Exhibit C).

   36.   Order No.3 of the Emergency Manager further required that “[a]ny orders,

         ordinances, resolutions, appointments, approvals, terminations, appropriations,

         contracts, permits or other related actions of the Detroit Mayor and City Council from

         and after March 28, 2013, shall be submitted to the Emergency Manager for

         consideration, but will not be valid or effective unless and until approved by the




                                           Page 12 of 28

13-53846-tjt   Doc 949-7     Filed 09/19/13     Entered 09/19/13 15:33:40        Page 12 of 28
         Emergency Manager or his designee in writing.” (See Order No. 3 of the

         Emergency Manager attached hereto as Exhibit C).

   37.   On June 27, 2013, the Emergency Manager issued Order No. 9, which was an order

         modifying orders nos. 1 and 3. Specifically, Order No. 9 terminated and eliminated

         the salary, wages, and compensation of Council President Charles Pugh (“Elected

         Council President”) effective July 7, 2013, and it further ordered that “[d]uring the

         period that Mr. Pugh [Elected Council President] remains a member of City Council,

         any authority granted in Order No. 3 for Mr. Pugh to act in the capacity as Council

         President is hereby revoked.” (See Order No. 9 of the Emergency Manager

         attached hereto as Exhibit D).

   38.   On July 9, 2013, the Detroit City Council, with the advice of counsel, voted 4-2 to

         unlawfully appoint Respondent Saunteel Jenkins (“Respondent”) as the new

         President of the Detroit City Council. Council members Brenda Jones and JoAnn

         Watson voted against Respondent‟s selection as the new Council President because

         they disagreed with the selection process. (See July 9, 2013 Detroit Free Press

         article attached hereto as Exhibit E).

   39.   In addition to unlawfully appointing Respondent as the new Council President, at the

         July 9, 2013 City Council meeting, the Detroit City Council also voted to appoint

         Councilmember Andre Spivey as the new Council President Pro-Tem as a result of

         the resignation of the former Council President Pro-Tem Gary Brown, who resigned

         effective July 1, 2013 to take a job in the Emergency Manager‟s administration. (See

         July 9, 2013 Detroit Free Press article attached hereto as Exhibit E).




                                          Page 13 of 28

13-53846-tjt   Doc 949-7    Filed 09/19/13     Entered 09/19/13 15:33:40        Page 13 of 28
   40.     Since the Detroit City Council‟s vote to appoint Respondent as the new Council

           President, and vote to appoint Councilmember Andre Spivey as the new Council

           President Pro-Tem, the Emergency Manager has not issued a written order approving

           the unlawful appointment of Respondent as the Council President nor has the

           Emergency Manager issued a written order approving the appointment of

           Councilmember Andre Spivey as the Council President Pro-Tem.

   41.     Nonetheless, since being unlawfully appointed as the new Council President on July

           9, 2013, Respondent has been unlawfully exercising the duties of the office of

           Council President.

   42.     It is important to state for the record, that the Elected Council President, to date, has

           not resigned nor has he been removed from office in accordance with law.

   43.     It is Petitioner‟s position that as a result of the Elected Council President not being

           removed from office in accordance with law and as a result of the Elected Council

           President failing to submit his letter of resignation, the City Council did not have any

           legal authority to appoint Respondent to the office of Council President irrespective

           of the Emergency Manager‟s unlawful Order No. 9. Additionally, as a result of the

           Emergency Manager failing to issue a written order approving Respondent‟s

           appointment, Respondent had no legal authority to assume the office of Council

           President and thus her appointment shall be declared void as a matter of law.

         A. The Emergency Manager Does Not Have the Authority to Remove an Individual
                   Member of the Detroit City Council from their Elected Office


   44.     It is undisputed that the Elected Council President is currently “temporarily absent”.

           However, the Elected Council President‟s unexplained “temporary absence” does not



                                              Page 14 of 28

13-53846-tjt    Doc 949-7       Filed 09/19/13     Entered 09/19/13 15:33:40         Page 14 of 28
         give the Emergency Manager the authority to revoke him of his authority and title as

         the duly elected President of the Detroit City Council.

   45.   Respondent‟s unlawful appointment to the office of Council President by her

         colleagues seems to stem from Corporation Counsel‟s misunderstanding of the

         Emergency Manager‟s powers and authority as set forth in PA 436.

   46.   As noted above, On June 27, 2013, the Emergency Manager issued Order No. 9,

         which was an order modifying orders nos. 1 and 3. Specifically, Order No. 9

         terminated and eliminated the salary, wages, and compensation of the Elected

         Council President effective July 7, 2013, and it further ordered that “[d]uring the

         period that Mr. Pugh [Elected Council President] remains a member of City Council,

         any authority granted in Order No. 3 for Mr. Pugh to act in the capacity as Council

         President is hereby revoked.” (See Order No. 9 of the Emergency Manager

         attached hereto as Exhibit D).

   47.   Thereafter, on July 9, 2013, the Detroit City Council, with the advice of counsel,

         voted 4-2 to unlawfully appoint Respondent Saunteel Jenkins (“Respondent”) as the

         new President of the Detroit City Council. Council members Brenda Jones and JoAnn

         Watson voted against Respondent‟s selection as the new Council President because

         they disagreed with the selection process. (See July 9, 2013 Detroit Free Press

         article attached hereto as Exhibit E).

   48.   PA 436 proscribes the power and authority of the Emergency Manager as it relates to

         exercising the powers of the local elected “governing body.” Specifically, MCL

         141.1549(2) of PA 436 states in relevant part:

               “Upon appointment, an emergency manager shall act for and in the place and
               stead of the governing body and the office of chief administrative officer of the

                                           Page 15 of 28

13-53846-tjt    Doc 949-7     Filed 09/19/13    Entered 09/19/13 15:33:40        Page 15 of 28
               local government. The emergency manager shall have broad powers in
               receivership to rectify the financial emergency and to assure the fiscal
               accountability of the local government and the local government's capacity to
               provide or cause to be provided necessary governmental services essential to the
               public health, safety, and welfare. Following appointment of an emergency
               manager and during the pendency of receivership, the governing body and the
               chief administrative officer of the local government shall not exercise any of the
               powers of those offices except as may be specifically authorized in writing by
               the emergency manager or as otherwise provided by this act and are subject
               to any conditions required by the emergency manager.” (Emphasis supplied).


   49.   MCL 141.1549(2) of PA 436 does not authorize the Emergency Manager to revoke

         the power and the authority away from an individual member of the “governing

         body.” The language of MCL 141.1549(2) of PA 436 clearly states that the

         Emergency Manager is to “act for and in the place of” the “governing body” and the

         “chief administrative officer.” This section further provides that the “governing

         body” and “chief administrative officer” “shall not exercise any of the powers of

         those offices except as may be specifically authorized in writing by the emergency

         manager.”

   50.   The Detroit City Council is the “governing body” of the City of Detroit and Mayor

         Dave Bing is the “chief administrative officer” of the City of Detroit. Thus, by its

         plain meaning, under MCL 141.1549(2) of PA 436, the Emergency Manager only has

         the authority to limit and/or revoke the power of the entire “governing body” as a

         whole and not a single member thereof. The only individual elected official the

         Emergency Manager has the authority to revoke the power and authority away from

         is the “chief administrative officer”, who in this case is Mayor Dave Bing.

   51.   As noted above, the Emergency Manager, in response to a civil lawsuit filed by the

         Petitioner, issued Order No. 3, which gave the Detroit City Council and the members



                                            Page 16 of 28

13-53846-tjt    Doc 949-7     Filed 09/19/13     Entered 09/19/13 15:33:40       Page 16 of 28
         thereof to exercise all of their authority as granted them under the 2012 Detroit City

         Charter with certain limitations.

   52.   The Emergency Manager can only exercise the powers and authority as granted him

         under statute. As our Court of Appeals recently explained in State of Michigan v

         Blackwell, 299 Mich App 727; ____ NW2d____ (2013) (Docket No.306975), slip op

         at p 3:

                   “Public officers have and can exercise only such powers as are conferred
                   on them by law, and a State is not bound by contracts made in its behalf by
                   its officers or agents without previous authority conferred by statute or the
                   Constitution.” Roxborough v Mich Unemployment Compensation Comm, 309
                   Mich 505, 510; 15 NW2d 724 (1944) (quotation marks and citation omitted).”
                   (Emphasis supplied).
   53.   As the duly appointed Emergency Manager for the City of Detroit, the Emergency

         Manager is a “public officer” and “state officer”. See Davis v Emergency Manager

         for the Detroit Pub School, 491 Mich 899 (2012).

   54.   Accordingly, the Emergency Manager “have and can exercise only such powers as

         are conferred on [him] by law.” State of Michigan v Blackwell, supra. And as noted

         above, PA 436 does not give the Emergency Manager the authority to revoke the

         power of an individual member of a “governing body”. PA 436 only allows the

         Emergency Manager to limit the powers of the entire “governing body” and not those

         of an individual member.

   55.   Therefore, paragraph No. 3 of Order No. 9 is not enforceable for it violates PA 436

         and it shall be declared illegal and unenforceable and deemed severable so that all

         other components contained in Order No. 9 shall remain valid and effective.




                                             Page 17 of 28

13-53846-tjt   Doc 949-7       Filed 09/19/13     Entered 09/19/13 15:33:40         Page 17 of 28
         B. Respondent’s Appointment as the President of The Detroit City Council Violates
             the 2012 Detroit City Charter and Thus, Her Appointment Shall be Declared
                                      Void as A Matter of Law.

   56.      It is undisputed that since June 2013, the Elected Council President has been

            “temporarily absent” from his duties as the President of the Detroit City Council.

   57.      As noted above, on July 9, 2013, the Detroit City Council, with the advice of counsel,

            voted 4-2 to unlawfully appoint Respondent Saunteel Jenkins (“Respondent”) as the

            new President of the Detroit City Council. Council members Brenda Jones and JoAnn

            Watson voted against Respondent‟s selection as the new Council President because

            they disagreed with the selection process. (See July 9, 2013 Detroit Free Press

            article attached hereto as Exhibit E).

   58.      However, the appointment of Respondent as the President of the Detroit City Council

            violated the 2012 Detroit City Charter, as amended.

   59.      § 4-103 of the 2012 Detroit City Charter provides the method and order of succession

            in case of a “temporary absence” of the Elected Council President. § 4-103 of the

            2012 Detroit City Charter states in pertinent part:

                           “City Council shall select its President and President Pro-Tempore
                   from among its members by majority vote of the members serving at its
                   first regular session in 2014. The term for City Council President and
                   President Pro-Tempore shall be four (4) years. Selection of the President and
                   President Pro-Tempore shall be every four years.
                           “Members serving in the offices of President or President Pro-
                   Tempore may be removed from their office by a unanimous vote of all
                   members serving, exclusive of the officer being removed. If an officer is
                   removed, the basis and vote for removal shall be publicly recorded in the
                   minutes of the city council at a public meeting.



                                              Page 18 of 28

13-53846-tjt     Doc 949-7      Filed 09/19/13     Entered 09/19/13 15:33:40       Page 18 of 28
                        “In the event of a vacancy in the office of President, including by
                removal or temporary absence, the President Pro-Tempore shall serve as
                President for the unexpired term in the case of vacancy or removal, or
                until the return of the President in the case of absence due to succession
                under section 5-109 or otherwise. Any vacancy in the office of President Pro-
                Tempore shall be filled by majority vote of members serving on the City
                Council for the unexpired term. However, if the office of President Pro-
                Tempore because available because of succession under 5-109, City Council
                shall select a President Pro-Tempore to serve until the return of the President
                and resulting resumption of the office by the President Pro-Tempore.”
                (Emphasis supplied) (See §4-103 of the 2012 Detroit City Charter attached
                hereto as Exhibit H).
   60.   It is undisputed that the Elected Council President is currently “temporarily absent”.

         However, the Elected Council President‟s unexplained “temporary absence” did not

         give the Emergency Manager the authority to revoke the Elected Council President of

         his authority and title as the duly elected President of the Detroit City Council.

         Additionally, the unexplained “temporary absence” of the Elected Council President

         did not give the Detroit City Council the authority to appoint a new Council

         President.

   61.   § 4-103 of the 2012 Detroit City Charter clearly and unambiguous states that “[i]n the

         event of a vacancy in the office of President, including by removal or temporary

         absence, the President Pro-Tempore shall serve as President for the unexpired

         term in the case of vacancy or removal, or until the return of the President in the

         case of absence…” (Emphasis supplied)




                                           Page 19 of 28

13-53846-tjt   Doc 949-7     Filed 09/19/13     Entered 09/19/13 15:33:40         Page 19 of 28
   62.   Therefore, as a result of the unexplained “temporary absence” of the Elected Council

         President, the President Pro-Tem was to serve as Council President until the Elected

         Council President returned.

   63.   In this case, since the former Council President Pro-Tem Gary Brown had resigned,

         pursuant to § 4-103 of the 2012 Detroit City Charter, the Detroit City Council had the

         authority to vote for a new President Pro-Tem. However, they did not have the

         authority to appoint a new Council President.

   64.   Seemingly, members of the Detroit City Council were given bad legal advice

         pertaining to the interpretation and meaning of the very first sentence of § 4-103 of

         the 2012 Detroit City Charter.

   65.   The first sentence of § 4-103 of the 2012 Detroit City Charter states:

                “City Council shall select its President and President Pro Tempore from
         among its members by majority vote of the members serving at its first regular
         session in 2014.” (Emphasis supplied) (See § 4-103 of the 2012 Detroit City
         Charter attached hereto as Exhibit H).
   66.   Certain members of the Detroit City Council erroneously interpreted this sentence to

         mean that they could vote to select a new Council President in spite of the fact that

         the Elected Council President had not resigned nor had been removed from office.

   67.   More importantly, as further evidence that certain members of the Detroit City

         Council‟s interpretation was incorrect, the clear and unambiguous wording of the first

         sentence of § 4-102 of the 2012 Detroit City Charter clearly states that the City

         Council could only vote for a new Council President and President Pro-Tem “at its

         fist regular session in 2014.”




                                          Page 20 of 28

13-53846-tjt   Doc 949-7    Filed 09/19/13      Entered 09/19/13 15:33:40         Page 20 of 28
   68.   The July 9, 2013 meeting was not the “first regular session in 2014.” Therefore, the

         Detroit City Council did not possess the legal authority to vote amongst its members

         to select a new Council President at the July 9, 2013 meeting. This sentence,

         authorizing the Detroit City Council to appoint its Council President does not become

         effective until “2014” not 2013.

   69.   As further evidence that the Detroit City Council did not have the authority to appoint

         the Respondent to the office of Council President, the 2012 Detroit City Charter,

         provides that the terms of offices of the members of the Detroit City Council that

         were elected under the former 1997 Detroit City Charter would continue until their

         respective terms expire. § 13-103 of the 2012 Detroit City Charter states in relevant

         part:

                         “No provision of this Charter shall affect or impair the rights or
                  privileges of city officers or employees existing when this Charter takes
                  effect with respect to appointment, ranks, grades, tenure of office,
                  promotion, removal, pension and retirement rights, or the civil rights or
                  privileges of city officers or employees.” (Emphasis supplied).
   70.   § 13-109 of the 2012 Detroit City Charter further provides:

                         “The term of a member serving a fixed term of office on any multi-
                  member body when this Charter takes effect shall expire at the end of the
                  fixed term, unless otherwise indicated in this Charter. Appointments to
                  vacancies arising on the multi-member bodies shall then be made in
                  accordance with the provisions in this Charter.” (Emphasis supplied).
   71.   As noted above, under § 4-103 of the former 1997 Detroit City Charter, the Council

         President was chosen based upon the individual who received the highest number of

         votes in the November general election. (See § 4-103 of the former 1997 Detroit

         City Charter attached hereto as Exhibit I).

                                            Page 21 of 28

13-53846-tjt     Doc 949-7   Filed 09/19/13      Entered 09/19/13 15:33:40      Page 21 of 28
   72.   It is undisputed that the Elected Council President received the highest number of

         votes in the November 2009 general election and under the former 1997 Detroit City

         Charter, his term of office was for four (4) years. Thus, until such time as the Elected

         Council President resigns, and/or is removed from office in accordance with law, the

         Elected Council President has the right to serve in that capacity and the Detroit City

         Council cannot vote to appoint a new Council President without first voting to

         remove him from said seat.

   73.   The language of the 2012 Detroit City Charter is clear and unambiguous.

   74.   The rules governing the construction of statutes apply with equal force to the

         interpretation of municipal ordinances and city charters. Gora v City of Ferndale,

         456 Mich 704, 711; 576 NW2d 141 (1998); Detroit v Walker, 445 Mich 682, 691;

         520 NW2d 135 (1994). “The Legislature is presumed to have intended the meaning it

         has plainly express[,]” and clear statutory language must be enforced as written.”

         Davis v City of Detroit Financial Review Team, ____ Mich App ____; ____ NW2d

         ____ (2012) (Opinion issued May 21, 2012 (Docket Nos.309218; 309250), slip op at

         p 8.

   75.   Thus, the clear and unambiguous provisions of § 4-103 of the 2012 Detroit City

         Charter must be applied and enforced as written. Id. See also In re Storm, 204 Mich

         App 323, 327; 514 NW2d 538 (1994), overruled in part on other grounds Detroit

         Police Officers Ass’ v City of Detroit, 452 Mich 339; 551 NW2d 349 (1996) (Where

         language of a charter is clear, there is no need for interpretation. The charter must be

         applied as written.)




                                            Page 22 of 28

13-53846-tjt    Doc 949-7       Filed 09/19/13   Entered 09/19/13 15:33:40       Page 22 of 28
   76.     Although this Court and the Respondent may believe that the removal of Respondent

           from the office of Council President in light of the current circumstances is trivial, the

           People of the City of Detroit chose to have this provision it its city charter and the

           will of the People cannot be ignored or overruled by this Court. “Fundamental

           principles of democratic self-government preclude the judiciary from substituting its

           judgment for that of the people.” In re Proposals D & H, 417 Mich 409, 423; 339

           NW2d 848 (1983).

         C. Respondent’s Appointment is Void as A matter of Law Because the Emergency
            Manager Did Not Issue A Written Order Approving Respondent’s Appointment
                                       as Council President

   77.     Even assuming the Detroit City Council had the authority to appoint Respondent to

           the position of Council President, which Petitioner correctly asserts they did not,

           Respondent‟s appointment is void as a matter of law because the Emergency Manager

           did not issue a written order in accordance with PA 436 and his Order No. 3

           approving Respondent‟s appointment as Council President.

   78.     As noted above, a majority of the Detroit City Council voted on July 9, 2013 to

           appoint Respondent as the new President of the Detroit City Council and also voted to

           appoint Councilmember Andre Spivey as the new Council President Pro-Tem.

   79.     Upon the vote of the Detroit City Council on July 9, 2013, Respondent assumed the

           office of Council President and began exercising the duties of Council President.

   80.     As of the date of the filing of this Ex Parte Application/Complaint, the Emergency

           Manager has not issued a written order approving and/or confirming the appointments

           of Respondent as Council President and Andre Spivey as Council President Pro-Tem.

   81.     MCL 141.1552(1)(ff) of PA 436 states:



                                             Page 23 of 28

13-53846-tjt    Doc 949-7      Filed 09/19/13     Entered 09/19/13 15:33:40         Page 23 of 28
               Sec. 12. (1) An emergency manager may take 1 or more of the following
               additional actions with respect to a local government that is in receivership,
               notwithstanding any charter provision to the contrary:
               (ff) Remove, replace, appoint, or confirm the appointments to any office, board,
               commission, authority, or other entity which is within or is a component unit of
               the local government.
   82.   In accordance with the powers granted him under MCL 141.1552(1), the Emergency

         Manager ordered in Order No. 3 the following:

                    “Any orders, ordinances, resolutions, appointments, approvals, terminations,
         appropriations, contracts, permits, or other related actions of the Detroit Mayor and
         City Council from and after March 28, 2013, shall be submitted to the Emergency
         Manager for consideration, but will not be valid or effective unless and until
         approved by the Emergency Manager or his designee in writing.” (Emphasis
         supplied) (See Order No. 3 attached hereto as Exhibit C).
   83.   Thus, in accordance with the clear and unambiguous language of the Emergency

         Manager‟s Order No. 3, Respondent‟s appointment is not valid because the

         Emergency Manager or his designee has not approved Respondent‟s appointment in

         writing.

   84.   Accordingly, Respondent did not have the legal authority to assume and exercise the

         duties of the office of Council President because her unlawful appointment has not

         received approval/confirmation from the Emergency Manager.

       D. Petitioner Has Met All Of The Legal Requirements Necessary For This Court To
                                           Grant Leave
   85.    On July 30, 2013, Petitioner:

               i)      Submitted an application to the Attorney General, pursuant to MCR
                       3.306(B)(3), requesting the Attorney General to institute quo warranto
                       proceedings against Respondent in this Court pursuant to MCR
                       3.306(B)(1)(a)&(b);


                                             Page 24 of 28

13-53846-tjt    Doc 949-7      Filed 09/19/13     Entered 09/19/13 15:33:40        Page 24 of 28
               ii)        Such application was properly made pursuant to MCR 3.306(B)(3)and
                         offered to provide any security deemed necessary to indemnify the state
                         against all costs and expenses of the action;
               iii)       Such application outlined the factual basis for, and necessity of,
                         instituting a quo warranto action against Respondent. (See, Petitioner‟s
                         Quo Warranto Application to Attorney General Bill Schuette, dated July
                         30, 2013, attached hereto as Exhibit F).

   86.   After a review of Petitioner‟s application (Exhibit F), on August 7, 2013, the

         Attorney General delivered to Petitioner his response, declining to file a quo

         warranto action against Respondent. (See, Attorney General’s letter responding to

         Petitioner’s application for quo warranto attached hereto as Exhibit G).

   87.   Petitioner has followed the requirements of the Michigan Court Rules, and the statute,

         providing for a quo warranto action and writ, and Petitioner, pursuant to MCR

         3.306(B)(3)(b), submits to this Court this Application for leave to file a quo warranto

         complaint against Respondents.

   88.   Petitioner submits to the Court that it is well-settled that the Court is obligated, in the

         interest of justice, and as required by law, to grant Petitioner‟s Application for Leave

         to File a Complaint for a Writ of Quo Warranto against Respondents. The legal test

         or standard to grant a private person, such as Petitioner, leave to file a quo warranto

         action, has been set forth by the Court of Appeals in City of Grand Rapids v. Harper,

         supra. The standard or test is twofold:


                      “… especially in light of the trend to provide more liberal requirements in the
                      area of who may petition for a writ of quo warranto. The personal interest of
                      the relator, or lack of it, is no longer relevant. The most important
                      considerations in granting leave to file quo warranto:
                                                          ***

                                               Page 25 of 28

13-53846-tjt    Doc 949-7        Filed 09/19/13     Entered 09/19/13 15:33:40        Page 25 of 28
                  „would be whether an appropriate application was made to the Attorney
                  General, in cases where required, and whether the application discloses
                  sufficient apparent merit to justify further inquiry by quo warranto
                  proceedings.‟ 4 Honigman & Hawkins, Michigan Court Rules Annotated (2d
                  Ed), Rule 715, p 231.”[Id.at 328-329] (Emphasis added.)

      89.      The Michigan Court of Appeals, again, recently applied and upheld, the twofold

               City of Grand Rapids standard or test that must be met in the granting of leave to

               file an action for quo warranto. They did so in Davis v Chatman, 292 Mich App

               603, at 613-614. The Court in Davis v Chatman, supra, citing City of Grand

               Rapids, supra, held:

                          [T]his Court has previously stated that the most important
                          considerations in granting leave to file quo warranto are (1) whether an
                          appropriate application was made to the Attorney General and (2)
                          whether the application disclosed sufficient apparent merit to justify
                          further inquiry by quo warranto proceedings. [Davis v Chatman, 292
                          Mich App 603, at 613.]

      90.      Both requirements set forth in City of Grand Rapids, and reiterated in Davis v

               Chatman, have been met by Petitioner‟s Application herein: (1). The Petitioner

               first made application to the Attorney General as required by MCR 3.306(B)(3),

               and the Attorney General declined to file such action, but gave thereby, Petitioner

               any necessary authority to proceed with this Application in this Court to seek

               leave file such an action himself; (2). This Application adequately and thoroughly

               discloses sufficient and apparent merit to justify further inquiry by means of

               Petitioner‟s quo warranto action against Respondent, to wit:

                          The Detroit City Council did not have the legal authority to appoint
                          Respondent to the office of Council President.




                                             Page 26 of 28

13-53846-tjt    Doc 949-7      Filed 09/19/13     Entered 09/19/13 15:33:40        Page 26 of 28
      91.      It must also be noted that Respondents‟ potential status, serving illegally,

               nonetheless are acting as a defacto officers. Whether acts taken by Respondents

               while serving as defacto officers are valid or not, is of no legal consequence to the

               question of whether Petitioner‟s Application must be granted. The Court of

               Appeals previously made such error in Davis v Emergency Manager for Detroit

               Public Schools, 491 Mich 899 (2012), and the Michigan Supreme Court correctly

               VACATED that part of the Appeals Court‟s order that provided such as its legal

               reasoning for its denial of the application. See Davis v Emergency Manager for

               Detroit Public Schools, 491 Mich 899 (2012).

      92.      It is manifest that Petitioner‟s complaint herein, for which leave is hereby sought,

               is meritorious, and the successful remedy resulting therefrom, will be the Court‟s

               removal of the Respondent from the office of Council President.

                                             Conclusion

            The Petitioner has complied with the requirements of the Michigan Court Rules and

   the quo warranto statute, by first imposing upon the Attorney General to bring the action in

   quo warranto. The Attorney General having declined to commence such action, the

   Petitioner may now proceed. Petitioner‟s application has disclosed sufficient facts

   concerning Respondent‟s unlawfully assuming the office of President of the Detroit City

   Council, thus justifying further inquiry into Respondent‟s unlawful appointment. See Davis v

   Chatman, 292 Mich App 603, at 613-614.

            The Court should therefore assume its jurisdiction, grant leave to the Petitioner,

   permit the filing of his complaint in quo warranto against Respondent, hear the matter and

   grant Petitioner the relief sought in such action. The Court should thus grant Petitioner the


                                              Page 27 of 28

13-53846-tjt     Doc 949-7      Filed 09/19/13     Entered 09/19/13 15:33:40        Page 27 of 28
   initial relief sought of leave to file herein the complaint and action for quo warranto against

   Respondent.

                                  REQUEST FOR RELIEF

          WHEREFORE, for the foregoing reasons, Petitioner, Citizens United Against

   Corrupt Government, prays and requests that the Court grant and issue the following relief:


                  1. Ex parte, an ORDER Granting Petitioner‟s Application for Leave to File a
                      Complaint for a Writ of Quo Warranto, against Respondent pursuant to
                      MCR 3.306(B)(3)(b), Ferzacca v. Freeman, supra, and Davis v Chatman,
                      supra;


                  2. Alternatively, ex parte, ORDER Respondent to Show Cause, why leave
                      should not be granted to Petitioner to file his Complaint for a Writ of Quo
                      Warranto against Respondents, and ORDER a hearing thereon on an
                      expedited basis and advance such hearing on an emergency basis on the
                      Court‟s docket in accordance with MCR 3.301(D);


                  3. ORDER any and all such other relief, as justice may so require.




                                                 Respectfully submitted,

                                                 /s/ ANDREW A. PATERSON______
                                                 ANDREW A. PATERSON (P18690)
                                                 Attorney for Petitioner Citizens United
                                                 46350 Grand River Ave., Suite C
                                                 Novi, MI 48374
                                                 (248) 568-9712

   DATED: August 19, 2013




                                             Page 28 of 28

13-53846-tjt     Doc 949-7     Filed 09/19/13     Entered 09/19/13 15:33:40        Page 28 of 28
